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                 7
                                            UNITED STATES BANKRUPTCY COURT FOR
                 8
                                              THE EASTERN DISTRICT OF CALIFORNIA
                 9
                                                       SACRAMENTO DIVISION
             10
                     In re:                                          Bk. No. 21-20922-FEC
             11
                     KYLE CURTIS ASH,                                Chapter 13
             12
                                                   Debtor.           DCN No.: RDW-001
             13
                                                                     DECLARATION IN SUPPORT OF MOTION
             14                                                      FOR RELIEF FROM THE AUTOMATIC
                                                                     STAY
             15
                                                                     Hearing-
             16                                                      Date: June 29, 2021
                                                                     Time: 9:00am
             17                                                      Place: Bankruptcy Court
                                                                            501 I Street, Seventh Floor
             18                                                             Courtroom 28
                                                                            Sacramento, California
             19
                                                                      VIA TELEPHONE/VIDEOCONFERENCE
             20

             21

             22                     I, KATHIE KNIGHTEN, declare and state:
             23                     1.     As to the following facts, I know them to be true of my own personal
             24      knowledge and if called upon to testify in this action, I could and would testify competently to
             25      the following facts personally known to me to be true.
             26                     2.     I am an employee of ACM INVESTOR SERVICES, INC. (“Servicer”),
             27      servicer for DAVID WILLIAM BULLMANN, IRA (“Beneficiary 1”), PHILIP AYERS
             28      BROWNING, et al (“Beneficiary 2”), ALAN RAZNICK AND NANCY G. RAZNICK, et al

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                 1   (“Beneficiary 3”) and CARLIE BERKE FAMILY TRUST, et al (“Beneficiary 4”) their
                 2   successors and/or assignees, (collectively referred to as the “Movant”). I am the employee of
                 3   Movant most familiar with this case and the facts herein and am authorized to make these

                 4   statements on behalf of Movant. I have reviewed the loan service records of Movant before

                 5   making these statements. The loans service records are kept in the regular course of business, at

                 6   or near the time of the event which is noted or memorialized. As to any statements regarding

                 7   equity or lack of equity contained within this Declaration, which are made upon information and

                 8   belief, these statements are made after examination of the loan file and after consideration of the

                 9   following factors

             10                       1)    the loan to value ratio;

             11                       2)    amount of arrearages; and

             12                       3)    the Debtor’s schedules

             13                       1.    KYLE CURTIS ASH ("Debtor”) is an individual and the Chapter 13
             14      Debtor herein.

             15                       2.    DAVID CUSICK has been appointed as the Chapter 13 Trustee in the

             16      instant bankruptcy. By virtue of his position as Chapter 13 Trustee, he may hold title to the

             17      subject property in that capacity. To the extent relief sought herein is granted, DAVID CUSICK

             18      should be bound by any such judgment.
             19                       3.    On March 16, 2021, Debtor, filed a Petition under Chapter 13 of the

             20      Bankruptcy Code.

             21                       4.    Movant is the current payee of a Promissory Note dated July 24, 2018 in

             22      the principal amount of $266,500.00 (the "Note") secured by a First Deed of Trust of same date,
             23      which bears interest as specified therein. The original Note is held by Movant and a copy is

             24      attached hereto as Exhibit “1" and is incorporated herein by reference.

             25                       5.    The indebtedness evidenced by the Note is secured by a Deed of Trust (the

             26      "Deed of Trust") executed and recorded in Solano County and which encumbers the real
             27      property located at 531 WESTWOOD COURT, VACAVILLE, CA 95688 (the "Property").
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                 1   A copy of the Deed of Trust is attached hereto as Exhibit "2" and incorporated herein by

                 2   reference.

                 3                   6.      Movant is the current holder of the Note and maintains all beneficial

                 4   interest relating to the subject loan.

                 5                   7.      On November 21, 2018, ACM Investor Service, Inc assigned and

                 6   transferred for beneficiary vesting IRA Services Trust Company, Custodian FBO, David

                 7   William Bullman, IRA as to an undivided 5.6285% interest and Phillip Ayers Browning, Trustee

                 8   of the Phillip Browning 2014 Revocable Trust as to an undivided 46.9043% interest and Alan M.

                 9   Raznick, Trustees of the Raznick Family Trust as to an undivided 23.7336% interest and Carlie

             10      Berke Family Trust, Carlie P. Headapol, Trustee as to an undivided 23.7336% interest. A copy of

             11      the assignment of Deed of Trust is attached hereto as Exhibit “3”.

             12                      8.      D&D REIT, INC (“Borrower”) is the borrower on the loan secured by the
             13      Property, which is the subject of this Declaration, not the Debtor.

             14                      9.      Sometime after entering into the loan agreement with Movant, Borrower

             15      allegedly transferred an interest in the Property to Debtor and Curtis Williams (“Mr. Williams”).
             16      A copy of the Grant Deed is attached hereto as Exhibit “4”. Movant did not authorize this

             17      transfer and was not aware of the transfer. The Grant Deed is not signed, but it was recorded in

             18      Solano County.
             19                      10      Borrower has defaulted on the Note. On the basis of the Borrower’s

             20      failure to make required payments the Borrower is now due and owing to Movant:

             21
                     Unpaid Principal Balance:                                             $266,500.00
             22
                     Pre-Petition Arrearages:                                              $22,186.18
             23      (per filed Proof of Claim)

             24      Post-Petition Delinquencies:

             25      2 Monthly Payment for                                                 $3,997.50
                     4/1/2021 and 5/1/2021 at $1,998.75
             26
                     Accrued Late Charges                                                  $199.88
             27
                     Attorneys' Fees                                                       $1,238.00
             28
                     TOTAL POST-PETITION DELINQUENCY DUE                                   $5,435.38
                                                                      3
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